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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                   Charleston Division

 Nelson L. Bruce,                              )
                                               )
                                    Plaintiff, )    Civil Act. No. 2:19-cv-03456-BHH-KDW
                                               )
             v.                                )
                                               )
 Bank of America, N.A.,                        )
                                               )
                                   Defendant. )
                                               )

DEFENDANT BANK OF AMERICA’S REPLY TO MAGISTRATE JUDGE’S REPORT
                    AND RECOMMENDATION

         NOW COMES Defendant Bank of America, N.A. (“BANA”), by and through undersigned

counsel, and responds to Plaintiff Nelson Bruce’s (“Plaintiff”) Objections to Magistrate Judge’s

Report and Recommendation (“R&R”)

                                          ARGUMENT

   I.       PLAINTIFF’S MOTION TO VACATE WAS PROPERLY DENIED.

         Plaintiff initially objects to the Magistrate’s denial of his Second Motion to Vacate as

untimely. Plaintiff asserts he did not receive BANA’s Response to this Motion and that the Court’s

decision is erroneous. BANA is unable to determine if Plaintiff received BANA’s response and,

in any case, Plaintiff is free to raise his objection to the R&R and to receive the benefit of this

Court’s analysis of the subject. Because Plaintiff’s Motion was untimely and not supported by the

law or facts of this case, the Court should adopt the R&R’s denial.

         On December 12, 2019, Plaintiff filed a one count Complaint alleging that BANA violated

the Fair Credit Reporting Act, 15 U.S.C. §1682, et seq. (“FCRA”), related to BANA’s alleged soft
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credit check inquiries that appeared on Plaintiff’s consumer report. (Doc. No. 1). This lawsuit is

one of six lawsuits Plaintiff has filed against BANA in this Court. 1

         On August 18, 2020, Plaintiff filed a Motion to Amend Complaint. (Doc. No. 39). On

August 25, 2020, BANA filed a Response in Opposition to Plaintiff’s Motion to Amend

Complaint. (Doc. No. 41). Plaintiff filed a Reply to BANA’s Response on September 2, 2020.

(Doc. No. 43). As such, the matter was fully briefed. On October 22, 2020, Magistrate Judge

West issued an R&R recommending that this Court deny Plaintiff’s Motion to Amend. (Doc. No.

52). Following Plaintiff’s Objection, This Court entered an Order denying Plaintiff’s Motion to

Amend on November 17, 2020. (Doc. No. 63). That Order is the subject of Plaintiff’s Motion.

         Plaintiff filed this Motion on July 26, 2021, asking this Court to vacate its November 17,

2020 Order under Federal Rule of Civil Procedure 60(b)(1) and (2) “so that plaintiff may proceed

with his case, civil action no. 2:20-cv-03778-BHH to seek justice and to discover further facts

which are essential to plaintiffs' claims and defenses.” 2 (Doc. No. 103, p.15). In his Motion,

Plaintiff stated that he filed the Motion to “give the court the opportunity to correct its mistakes

that are of a substantive legal nature.” Id. at p. 1. Because Plaintiff’s Motion is both untimely and

improper under controlling Fourth Circuit law, this Court should deny Plaintiff’s Motion.

         a. Legal Standard

         Rule 60(b) allows the court to relieve “a party ... from a final judgment, order, or

proceeding” due to (1) “mistake, inadvertence, surprise, or excusable neglect”; (2) “newly

discovered evidence”; (3) “fraud ..., misrepresentation, or misconduct”; (4) a void judgment; (5) a




1
  The Court’s records reflect that Plaintiff has filed 5 other separate actions against BANA with the court and
attempted to remove a state court foreclosure action to this Court.
2
  It is unclear why granting Plaintiff’s Motion to Amend would allow Plaintiff to proceed in a different case number,
but nonetheless, Plaintiff has failed to identify appropriate grounds for reconsideration, and his Motion should be
denied.

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satisfied, released, or discharged judgment; or (6) “any other reason that justifies relief.” Fed. R.

Civ. P. 60(b). Rule 60(b) “does not authorize a motion merely for reconsideration of a legal

issue.” United States v. Williams, 674 F.2d 310, 312 (4th Cir. 1982). “Where the motion is nothing

more than a request that the district court change its mind ... it is not authorized

by Rule 60(b).” Id. at 313. “A motion for reconsideration under Rule 60(b) is addressed to the

sound discretion of the district court and ... [is] generally granted only upon a showing of

exceptional circumstances.” Lyles v. Reynolds, C/A No. 4:14-1063-TMC, 2016 WL 1427324, at

*1 (D.S.C. Apr. 12, 2016) (citation and internal quotation marks omitted). Finally, motions for

reconsideration under Rule 60(b) must be filed “within a reasonable time—and for reasons (1),

(2), and (3) no more than a year after the entry of the judgment or order or the date of the

proceeding.” Fed. R. Civ. Pro. 60(c).

       b. Plaintiff’s Motion is Untimely.

       First, Plaintiff’s Motion, which he filed more than eight months after entry of the

November 17, 2020 Order, is untimely under the Federal Rules of Civil Procedure. For all motions

brought under Rule 60(b), the motion must be brought “within a reasonable time.” Id. For motions

brought under Rule 60(b)(1-3), the Rules state that the outer limit of what a “reasonable time” can

mean is one year from entry of the subject order. Id. The Fourth Circuit consistently holds that

motions under Rule 60(b) are untimely when they are filed “three to four months after the original

judgment and no valid reason is given for the delay.” McLawhorn v. John W. Daniel & Co., 924

F.2d 535, 538 (4th Cir. 1991) (upholding denial of Rule 60(b) motion brought three and one half

months after entry of the judgment); see also Central Operating Co. v. Utility Workers of

America, 491 F.2d 245 (4th Cir.1974) (upholding denial of Rule 60 motion based upon four month

delay); Consolidated Masonry & Fireproofing, Inc. v. Wagman Constr. Corp., 383 F.2d 249 (4th



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Cir.1967) (finding no abuse of discretion for denial of motion based upon two and one half months

delay).

          Here, Plaintiff filed his Motion more than eight months after the entry of the November 17,

2020 Order. Plaintiff offered zero explanation for this delay and none is obvious from the record.

See generally, Motion. Thus, under the clear precedent of McLawhorn, Central Operating Co.,

and Consolidated Masonry, this Court should deny Plaintiff’s Motion as untimely.

          Moreover, BANA is prejudiced by Plaintiff’s delay in this case. Discovery closed in this

matter on March 15, 2021. (Doc. No. 70). BANA completed all discovery by this deadline based

upon the operative Complaint, and this Court’s denial of Plaintiff’s Motion to Amend. Based upon

the record existing at the close of discovery, BANA drafted and filed its Motion for Summary

Judgment and its Reply to Plaintiff’s Response in Opposition to BANA’s Motion for Summary

Judgment, which is currently pending. To allow Plaintiff to file an Amended Complaint and

effectively restart this litigation would prejudice BANA who has spent time, money, and resources

proceeding under the Rules and this Court’s previous Orders. Dowell v. State Farm Fire & Cas.

Auto. Ins. Co., 993 F.2d 46, 48 (4th Cir. 1993) (citing Werner v. Carbo, 731 F.2d 204, 207 (4th

Cir. 1984) (“[B]efore a party may seek relief under Rule 60(b), a party first must show timeliness,

a meritorious defense, a lack of unfair prejudice to [any] opposing party, and exceptional

circumstances.”) (emphasis added)). Because Plaintiff failed to file his Motion within a reasonable

time and because that failure causes unfair prejudice to BANA, the Court should deny Plaintiff’s

Motion.

          In his Objection, Plaintiff posits that “It is an abuse of discretion if a district court denies a

parties (sic) Rule 60(b) motion as untimely if the motion is filed within the one year requirement

of the district courts (sic) rules governing a Rule 60(b) motion and no summary judgment has been



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entered closing out the entire case.” Plaintiff cites no authority for this assertion and it plainly

conflicts with Rule 60(b), which requires motions be brought within “a reasonable time.”

       Plaintiff further contends that Rule 60(b) is not even applicable because he is challenging

a prior order of this Court, not the entry of judgment. While this is likely true, it only bolsters

Magistrate Judge West’s denial of the Motion. Consequently, Plaintiff has not raised a viable

objection to the R&R.

   c. Even if Plaintiff’s Motion was Timely, Plaintiff’s Motion Improperly Seeks to
      Relitigate Issues Already Decided by the Court.

       Plaintiff’s Motion improperly asks this Court to simply “change its mind,” which is

improper under the Federal Rules of Civil Procedure and controlling Fourth Circuit law. Thus,

the Court should deny Plaintiff’s Motion.

       The Fourth Circuit has made clear that where a motion seeks reconsideration of legal issues

addressed in an earlier ruling, the motion “is not authorized by Rule 60(b).” CNF Constructors,

Inc. v. Donohoe Const. Co., 57 F.3d 395, 401 (4th Cir. 1995); United States v. Williams, 674 F.2d

310, 313 (4th Cir.1982) (same); Nix v. Holbrook, No. 5:13-CV-02173-JMC, 2015 WL 1958745,

at *2 (D.S.C. Apr. 30, 2015) (quoting Williams, 674 F.2d at 313) (“Where the motion is nothing

more than a request that the district court change its mind ... it is not authorized by Rule 60(b).”);

Regan v. City of Charleston, S.C., 40 F. Supp. 3d 698, 702 (D.S.C. 2014) (“A motion for

reconsideration is not, however, an opportunity to relitigate issues already ruled upon simply

because a party is dissatisfied with the outcome.”).

       Here, Plaintiff asks the Court to change its mind on its November 17, 2020 Order without

providing any new controlling law or facts to support that change. The parties fully briefed the

issue prior to both this Court’s ruling and Magistrate Judge West’s Report and Recommendation.




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This Court was fully apprised of the grounds for the motion prior to issuing its Order. Plaintiff

has offered no new facts or controlling law that would change the Court’s analysis.

          Plaintiff counters that he is not seeking reconsideration and, instead, is asking the Court to

“correct its mistakes.” Motion, p. 1. This is a distinction without a difference. See, e.g., CNF

Constructors, Inc., 57 F.3d at 401. Because Plaintiff’s Motion is improper under Fourth Circuit

law and under the Federal Rules of Civil Procedure, the Court should deny Plaintiff’s Motion.

   II.       THE MAGISTRATE JUDGE DID NOT ERR IN SECTION I OF THE R&R BY
             FAILING TO LIST ADDITIONAL POTENTIAL VIOLATIONS.

          Plaintiff’s second basis for objection asserts that the R&R does not acknowledge additional

credit inquiries on account ending in 5876 in May 2017, which he learned of through discovery.

In Section I, the R&R merely describes factual background alleged in the Complaint and cannot

possibly be objectionable. Further, the R&R specifically acknowledged and analyzed the credit

inquiries Plaintiff asserts in his Objection. (Doc No. 110, p 8.) Thus, Plaintiff’s Objection is

misplaced.

   III.      THE MAGISTRATE JUDGE DID NOT ERR IN SECTION III OF THE R&R
             IN ITS INTERPRETATION OF THE FCRA.

          Plaintiff raises a raft of objections to the R&R’s interpretation of the FCRA and application

of the summary judgment standard. These objections were largely addressed in the R&R and fail

to raise new issues.

          First, in addition to unfounded allegations of bias and prejudice, Plaintiff’s objection

appears to concern Magistrate Judge West’s reading of 15 U.S.C. § 1681b(a)(3)(A). Specifically,

Plaintiff appears to dispute the R&R’s conclusion that a furnisher demonstrates a permissible

purpose for making a credit inquiry if it “has reason to believe” it is for a permissible purpose.

However, this conclusion is supported by Glanton v DirectTV, LLC, 172 F.Supp.3d 890 (D.S.C.


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2016). Moreover, Plaintiff’s objection fails to persuasively argue this issue is even dispositive. The

R&R notes that BANA demonstrated compliance under both § 1681b(a)(3)(A) and (F).

       Second, Plaintiff asserts summary judgment is premature, more discovery is required and

that he has raised genuine issues for a jury to decide. Magistrate Judge West considered and

rejected each of these concerns. The R&R specifically found that the question of permissible

purpose is a legal question where no factual dispute exists. See, e.g., Korotki v. Thomas, Ronald &

Cooper, P.A., 1997 WL 753322, at *2-3 (4th Cir. 1997). The R&R further holds Plaintiff cannot

demonstrate a genuine issue of fact through precatory impeachment of Defendant’s evidence. See,

e.g., Wilson v. Clancy, 747 F.Supp. 1154, 1158 (D.Md. 1990). Lastly, the R&R denied Plaintiff’s

motion to revisit leave to amend and further discovery, therefore, Plaintiff is precluded from

advancing a need for additional discovery as an objection to the R&R’s decision on the merits.

       Third, Plaintiff contests Defendant’s Motion to Strike Sur-Reply, which he also denies

receiving. However, the R&R denied Defendant’s Motion to Strike Sur-Reply as moot and

included Plaintiff’s Sur-Reply arguments. (Doc. No. 110, p 5.) Consequently, Plaintiff has already

prevailed on this issue.

       Fourth, as he did in his Response to BANA’s Motion for Summary Judgment (ECF No.

87), Plaintiff contests the admissibility of declaration submitted in support of BANA’s motion for

summary judgment. These declarations are admissible both as sworn testimony and under the

business records exception to hearsay under Federal Rule of Evidence 803(6). Plaintiff has failed

to demonstrate otherwise.

       Fifth, for multiple reasons, Plaintiff attacks the R&R’s central conclusion that BANA

demonstrated a permissible purpose for accessing his credit information after the mortgage was

assigned to a third-party and/or servicing rights were assigned to another servicer. The R&R,



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however, provides a detailed explanation for BANA’s permissible purpose(s) subsequent to these

transfers. Plaintiff does not dispute (through evidence) any of the facts Magistrate Judge West

cited in support. Nor does Plaintiff refer to any authority contrary to the R&R, which relies on

clear, well-reasoned decisions from the District of South Carolina and other jurisdictions.

Therefore, Plaintiff has failed to raise a valid objection and is merely re-arguing issues already

decided against him.

       Finally, Plaintiff contends Magistrate Judge West erred by failing to liberally construe his

pleadings. However, the R&R decided Defendant’s motion for summary judgment under Rule 56

and was not predicated on a construction of the viability of Plaintiff’s Complaint.

                                         CONCLUSION

       For the reasons stated above, BANA respectfully requests that this Court adopt the R&R.

This is the 2nd day of November 2021.

                                           /s/ T. Richmond McPherson III____________
                                           Robert A. Muckenfuss (SC Federal Bar #7333)
                                           T. Richmond McPherson III (SC Federal Bar #11214)
                                           MCGUIREWOODS LLP
                                           201 North Tryon Street, Suite 3000
                                           Charlotte, North Carolina 28202
                                           Telephone: (704) 343-2052
                                           Facsimile: (704) 444-8707
                                           rmuckenfuss@mcguirewoods.com
                                           rmcpherson@mcguirewoods.com
                                           Attorneys for Defendant Bank of America, N.A.




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                               CERTIFICATE OF SERVICE


       I hereby certify that on November 2, 2021, the foregoing Defendant Bank of America’s

Reply to Plaintiff’s Objections to Magistrate’s Report and Recommendation was filed via the

court’s CM/ECF system and served by First Class U.S. Mail with postage prepaid upon the

following:

       Nelson L. Bruce
       144 Pavilion Street
       Summerville, SC 29483

       Pro Se Plaintiff


                                                 s/ T. Richmond McPherson III
                                                  T. Richmond McPherson III




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